         Case 1:18-bk-11919-MB Doc 12 Filed 08/03/18                                Entered 08/03/18 21:40:50                Desc
                             Imaged Certificate of Notice                           Page 1 of 2
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 18-11919-MB
Juan Rene Mejia                                                                                            Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-1                  User: kogierC                      Page 1 of 1                          Date Rcvd: Aug 01, 2018
                                      Form ID: mccdn                     Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 03, 2018.
db              Juan Rene Mejia,   13775 Judd Street,   Pacoima, CA 91331-3631

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 03, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 1, 2018 at the address(es) listed below:
              Amy L Goldman (TR)   marisol.jaramillo@lewisbrisbois.com, AGoldman@iq7technology.com
              Randolph R Ramirez   on behalf of Debtor Juan Rene Mejia
               randolph.ramirez@yourlegalneeds.net;r49965@notify.bestcase.com
              United States Trustee (SV)   ustpregion16.wh.ecf@usdoj.gov
                                                                                            TOTAL: 3
         Case 1:18-bk-11919-MB Doc 12 Filed 08/03/18                           Entered 08/03/18 21:40:50                Desc
                             Imaged Certificate of Notice                      Page 2 of 2
                                         United States Bankruptcy Court
                                          Central District of California
In re:                                                            CHAPTER NO.:   7
Juan Rene Mejia
                                                                  CASE NO.:   1:18−bk−11919−MB

                               CASE COMMENCEMENT DEFICIENCY NOTICE
To Debtor and Debtor's Attorney of Record,
YOUR CASE MAY BE DISMISSED IF YOU FAIL TO CURE THE FOLLOWING DEFICIENCIES:
A. You must cure the following within 14 days from filing of your petition:

  Statement of Related Cases (LBR Form 1015−2) [Information required by LBR 1015−2]
  Attorney Disclosure of Compensation Arrangement in Individual Chapter 7 case. [LBR 2090−1 (LBR F2090−1.1) Court Manual,
section 2.1]
  Disclosure of Compensation of Attorney for Debtor (Official Form 2030). [11 U.S.C. § 329; FRBP 2016(b)]
  Declaration by Debtor(s) as to Whether Income was Received From an Employer within 60 Days of the Petition Date [11 U.S.C. §
521(a)(1)(B)(iv)] (LBR Form F1002−1)
  Verification of Master Mailing List of Creditors [LBR 1007−1(a)] (LBR Form F1007−1)

         Other (Specify):




B. Statement of Intention for Individuals Filing Under Chapter 7 (11 U.S.C. § 521(a)(2)(A)) [must be filed within 30 days from filing
Petition (not required for corporations)] (Official Form 108)

The Revised Official Bankruptcy Forms are mandatory and are available at www.cacb.uscourts.gov/forms




For all items above that are not electronically filed, you must file the original and the following number of copies in accordance
with Local Bankruptcy Rules 1002−1(c) and 5005−2, and Court Manual, section 2.5(a)(2).

                   Chapter 7   Original only

Please return the original or copy of this form with all required items to the following location:

                   21041 Burbank Blvd, Woodland Hills, CA 91367−6603
If you have any questions, please contact the Court's Call Center at the toll free number (855) 460−9641.




Dated: July 31, 2018                                                          For the Court
                                                                              Kathleen J. Campbell
                                                                              Clerk of Court
(Form mccdn − Rev 01/2018)                                                                                               7 − 1 / KO
